                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-2 Filed 07/01/15 Page 1 of 4 Page ID #:141


                                                                                  1 TUCKER ELLIS LLP
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                                                                                  5
                                                                                    Attorneys for Plaintiff
                                                                                  6 VERRAGIO, LTD
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                                                                                  9                           UNITED STATES DISTRICT COURT
                                                                                 10                          CENTRAL DISTRICT OF CALIFORNIA
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




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                                                                                 13 VERRAGIO, LTD
TUCKER ELLIS LLP




                                                                                                                                   )    Case No. 8:15-cv-0688 CJC (DFMx)
                                                                                                                                   )
                                                                                 14               Plaintiff,                       )
                                                                                                                                   )    DECLARATION OF HOWARD A.
                                                                                 15           v.                                   )    KROLL IN SUPPORT OF
                                                                                                                                   )    PLAINTIFF’S APPLICATION FOR
                                                                                 16 KIEU HANH JEWELRY,                             )    DEFAULT JUDGMENT BY COURT
                                                                                                                                   )
                                                                                 17              Defendant.                        )    DATE:      August 3, 2015
                                                                                                                                   )    TIME:      1:30 p.m.
                                                                                 18                                                )    CTRM:      9B
                                                                                                                                   )
                                                                                 19                                                )    Hon. Cormac J. Carney
                                                                                                                                   )
                                                                                 20                                                )
                                                                                 21
                                                                                 22           I, Howard A. Kroll, declare as follows:
                                                                                 23           1.    I am a partner with Tucker Ellis LLP, attorneys of record for Plaintiff
                                                                                 24 Verragio, Ltd. (“Verragio”). I make this declaration of my personal knowledge, and if
                                                                                 25 called on as a witness could testify competently to each of the following facts.
                                                                                 26           2.    Defendant Kieu Hanh Jewelry (“Kieu Hanh”), a company selling jewelry in
                                                                                 27 Westminster, California, is not a minor or incompetent person or in military service or
                                                                                 28 otherwise exempted under the Soldiers’ and Sailors’ Civil Relief Act of 1940.


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                                                                                  Case 8:15-cv-00688-CJC-DFM Document 21-2 Filed 07/01/15 Page 2 of 4 Page ID #:142


                                                                                  1           3.    Verragio plans to serve its Application for Default Judgment By Court
                                                                                  2 (“Application”), its Notice of Application, and other supporting documents on Kieu Hanh
                                                                                  3 by mail on July 1, 2015.
                                                                                  4           4.    The ring sold by Kieu Hanh is currently in my possession, and is virtually
                                                                                  5 identical to the photograph displayed in the Memorandum of Points and Authorities in
                                                                                  6 Support of Plaintiff’s Application, but without the center diamond.
                                                                                  7           5.    Kieu Hanh has not contacted me at any time during the pendency of this
                                                                                  8 Action, and I have had no opportunity to inspect any evidence Kieu Hanh may possess.
                                                                                  9           6.    Verragio has incurred attorneys’ fees in the amount of $12,845 in this
                                                                                 10 matter.
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                                                                                 11           7.    Verragio has incurred costs in the amount of $400 in in this matter. These
                                                                                 12 costs consist of the filing fee for the Complaint.
                                                                                 13           8.    None of the requested fees and costs have previously been written off or
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                                                                                 14 waived by Tucker Ellis LLP.
                                                                                 15           9.    I am an alumnus of U.S.C. School of Law. I have been a member in good
                                                                                 16 standing of the California bar since 1981 and am experienced in intellectual property
                                                                                 17 litigation. The hourly rate I charge is $645 an hour. It is my understanding and belief that
                                                                                 18 my rate is consistent with what other attorneys of my experience in this area charge for
                                                                                 19 comparable work, and that these rates are reasonable.
                                                                                 20           10.   In April, 2015, I billed 4 hours to investigate Verragio’s claim and draft the
                                                                                 21 Complaint, prepare a corporate disclosure statement, and a notice of interested parties.
                                                                                 22           11.   In May, 2015, I billed 2 hours to review and analyze the proof of service,
                                                                                 23 review and analyze the Court’s local rules and Judge Carney’s Procedures and Schedules,
                                                                                 24 review and analyze the Court’s order regarding transfer to Judge Dolly Gee, review and
                                                                                 25 analyze the Court’s order to show cause regarding dismissal for lack of prosecution, and
                                                                                 26 for a conference with Verragio regarding the status of the case.
                                                                                 27           12.   In June, I have billed 5 hours for drafting the application for the Clerk of the
                                                                                 28 Court to enter default, reviewing and revising the Application for Default Judgment By

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                                                                                  1 Court, Verragio’s Notice of Application, and other supporting documents, and for a
                                                                                  2 conference with Verragio regarding the status of the case.
                                                                                  3           13.   I also have supervised the work of an associate attorney at Tucker Ellis LLP,
                                                                                  4 Markus B. Hopkins (“Hopkins”). Hopkins is an alumnus of Loyola Law School, Los
                                                                                  5 Angeles and has been a member in good standing of the California bar since 2014.
                                                                                  6 Hopkins’ hourly rate is $250 an hour. It is my understanding and belief that the rate
                                                                                  7 charged by Hopkins is consistent with what other attorneys of his experience in this area
                                                                                  8 charge for comparable work, and that these rates are reasonable.
                                                                                  9           14.   In June, Hopkins has billed 23 hours for drafting, reviewing, and revising the
                                                                                 10 Application for Default Judgment By Court, Verragio’s Notice of Application, and other
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                                                                                 11 supporting documents.
                                                                                 12           I declare under penalty of perjury under the laws of the United States of America
                                                                                 13 that the foregoing is true and correct.
TUCKER ELLIS LLP




                                                                                 14           Executed at Los Angeles, California, this 1st day of July, 2015.
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                                                                                 17                                                 /s/ Howard A. Kroll__________
                                                                                 18                                                        Howard A. Kroll
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                                                                                 1                                  CERTIFICATE OF SERVICE
                                                                                 2
                                                                                              I certify that on July 1, 2015, a true and correct copy of the foregoing was filed
                                                                                 3
                                                                                      with the Court and served electronically.          The Notice of Electronic Case Filing
                                                                                 4
                                                                                      automatically generated by the system and sent to all parties entitled to service under the
                                                                                 5
                                                                                      Federal Rules of Civil Procedure and the Local Rules of the Central District of California
                                                                                 6
                                                                                      who have consented to electronic service shall constitute service of the filed document to
                                                                                 7
                                                                                      all such parties.
                                                                                 8
                                                                                              I further certify that the following party was served by U.S. Mail:
                                                                                 9                                            Kieu Hanh Jewelry
                                                                                 10                                     9131 Bolsa Avenue, Suite 203
                                                                                                                           Westminster, CA 92683
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11
                                                                                              I declare that I am employed by a member of the bar of this Court, at whose
                                                                                 12
                                                                                      direction this service was made.
                                                                                 13
TUCKER ELLIS LLP




                                                                                              Executed on July 1, 2015 at Los Angeles, California.
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                                                                                                                                            /s/Susan Lovelace
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